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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK
____________________________________________

UNITED STATES OF AMERICA

                       v.                                                    1:07-CR-15

JEAN C. GONZALEZ,

                              Defendant.
____________________________________________

APPEARANCES                                           OF COUNSEL

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Defendant pro se

SCULLIN, Senior Judge

                            MEMORANDUM-DECISION AND ORDER

                                      I. INTRODUCTION

       On June 9, 2008, pursuant to an Agreement between the parties, Defendant entered a plea

of guilty to Count 1 of the Superseding Indictment, charging him with conspiracy to distribute

and possess with the intent to distribute cocaine and cocaine base (crack), in violation of 21

U.S.C. §§ 841(a)(1), (b)(1)(A), 846. See Dkt. No. 281; Minute Entry dated June 9, 2008. At the

time of sentencing, the Court found that Defendant's total offense level was 31 and his criminal
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history category was III, resulting in a presumptive United States Sentencing Guidelines range of

135 to 168 months. However, a statutory minimum sentence of 240 months' imprisonment

applied. On October 24, 2008, the Court imposed a sentence of 240 months' incarceration. See

Dkt. No. 378.

       Currently before the Court is Defendant's motion for a reduction of his sentence pursuant

to 18 U.S.C. § 3582(c)(2) and U.S.S.G. § 1B1.10, in light of Amendment 706 to the Guidelines

reducing the base offense level listed on the drug quantity table for most cocaine base (crack

cocaine) offenses. See Dkt. No. 427. The Government opposes the motion on the ground that,

"[b]ecause the [D]efendant was sentenced to the applicable mandatory minimum term of

imprisonment, he is not entitled to seek relief pursuant to § 3582(c)(2)." See Dkt. No. 438 at

(unnumbered) 4.



                                        II. DISCUSSION

       The statute that provides authority for a court to resentence a defendant under these

circumstances is 18 U.S.C. § 3582(c)(2), which provides that,

                in the case of a defendant who has been sentenced to a term of
                imprisonment based on a sentencing range that has subsequently
                been lowered by the Sentencing Commission pursuant to 28 U.S.C.
                § 994(o), upon motion of the defendant or the Director of the
                Bureau of Prisons, or on its own motion, the court may reduce the
                term of imprisonment, after considering the factors set forth in
                section 3553(a) to the extent that they are applicable, if such a
                reduction is consistent with applicable policy statements issued
                by the Sentencing Commission.

18 U.S.C. § 3582(c)(2) (emphasis added).

       The applicable policy statement that the Sentencing Commission issued is U.S.S.G.


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§ 1B1.10, "Reduction in Term of Imprisonment as a Result of Amendment Guideline Range

(Policy Statement)," which provides in pertinent part as follows:

               (a) Authority. --

               **********

               (2) Exclusions. – A reduction in the defendant's term of
               imprisonment is not consistent with this policy statement and
               therefore is not authorized under 18 U.S.C. § 3582(c)(2) if –

               **********

               (B) [the crack cocaine sentence reduction amendment] does not
               have the effect of lowering the defendant's applicable guideline
               range.

               (3) Limitation. – Consistent with subsection (b), proceedings under
               18 U.S.C. § 3582(c)(2) and this policy statement do not constitute
               a full resentencing of the defendant.

U.S.S.G. § 1B1.10(a)(2)-(3).

       In cases such as this one, where a statutory minimum sentence exceeds the applicable

Guidelines range, the court must set the Guidelines sentence at the statutorily required minimum.

See U.S.S.G. § 5G1.1(b); United States v. Johnson, No. 07-1930, 517 F.3d 1020, 1024 (8th Cir.

2008); United States v. Williams, 551 F.3d 182, 186 (2d Cir. 2009) (finding that "the 240-month

mandatory minimum 'subsume[d] and displace[d] the otherwise applicable [97 to 121 month]

guideline range.'" (quoting United States v. Cordero, 313 F.3d 161, 166 (3rd Cir. 2002))). Thus,

when a defendant has a Guidelines range below the mandatory minimum before applying

U.S.S.G. § 5G1.1(b), the Guidelines sentence becomes the statutory mandatory minimum. See




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U.S.S.G. § 5G1.1(b);1 Johnson, 517 F.3d at 1024.

       In this case, the retroactive crack cocaine sentencing amendment, which affects only the

Guidelines sentence, not the statutory sentence, does not help Defendant. The Guidelines

sentence – either before or after application of the crack cocaine sentencing amendment – is still

the statutory mandatory minimum. Since the retroactive crack cocaine sentencing amendment

would not change the Guidelines sentence, the exclusion set forth in U.S.S.G. § 1B1.10(a)(2)(B)

applies. See Johnson, 517 F.3d at 1024. Therefore, "[a] reduction in the defendant's term of

imprisonment is not consistent with [the applicable] policy statement and therefore is not

authorized under 18 U.S.C. § 3852(c)(2)." U.S.S.G. § 1B1.10(a)(2) (emphasis added); Johnson,

517 F.3d at 1024.



                                       III. CONCLUSION

       Accordingly, after carefully reviewing the entire file in this matter, the parties'

submissions, and the applicable law, and for the reasons stated herein, the Court hereby

       ORDERS that Defendant's motion to reduce his sentence pursuant to 18 U.S.C.

§ 3582(c)(2) and U.S.S.G. § 1B1.10 in light of Amendment 706 to the Guidelines is DENIED.

IT IS SO ORDERED.

Dated: May 8, 2009
       Syracuse, New York




       1
         U.S.S.G. § 5G1.1(b) provides, in pertinent part, that, "[w]here a statutorily required
minimum sentence is greater than the maximum of the applicable guidelines range, the
statutorily required minimum sentence shall be the guideline sentence." (emphasis added).

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